Case 1:25-cv-00400-AHA   Document 15-2   Filed 02/12/25   Page 1 of 4




            EXHIBIT B
         Case 1:25-cv-00400-AHA          Document 15-2        Filed 02/12/25      Page 2 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



AIDS VACCINE ADVOCACY
COALITION, et al.,

          Plaintiffs,

v.                                                      Civil Action No. 1:25-cv-00400

DEPARTMENT OF STATE, et al.,

          Defendants.



 Defendants’ Selected Authorities On Which Their Opposition To Temporary Restraining
          Order Relies Relating To Court’s Conference Of February 12, 2025
CASES
        Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, (AFGE), 929 F.3d 748 (D.C. Cir. 2019)
        Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 414 (2003) (the “historical gloss on the
         ‘executive Power’ vested in Article II of the Constitution has recognized the President's
         ‘vast share of responsibility for the conduct of our foreign relations’” (citation omitted))
        Ancient Coin Collectors Guild v. CBP, 801 F. Supp. 2d 383, 402 (D. Md. 2011)
         (concluding that where the Department of State was acting on behalf of the President,
         their actions were not reviewable under the APA), aff’d, 698 F.3d 171 (4th Cir. 2012)
        Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)
         (D.C. Cir. 2006) (holding that to obtain a preliminary injunction, a plaintiff must
         demonstrate a “clear showing” that they are entitled to relief)
        Dalton v. Specter, 511 U.S. 462, 472-73 (1994) (holding that “claims simply alleging that
         the President has exceeded his statutory authority are not ‘constitutional’ claims, subject
         to judicial review . . . .” respecting the long tradition of “distinguish[ing] between claims
         of constitutional violations and claims that an official has acted in excess of his statutory
         authority”)
        Detroit Int’l Bridge Co v. Canada, 189 F. Supp. 3d 85, 100 (D.D.C. 2016) (“several cases
         have concluded that an agency's action on behalf of the President, involving discretionary
         authority committed to the President, is ‘presidential’ and unreviewable under the APA”
         and concluding that the action by the Department of State on behalf of the President was
         unreviewable under the APA)

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      Case 1:25-cv-00400-AHA          Document 15-2         Filed 02/12/25      Page 3 of 4




     Franklin v. Massachusetts, 505 U.S. 788, 801 (1992) (It is “well-settled” that Presidential
      action is not subject to review under the APA.)
     Gulf Oil Corp. v. Brock, 778 F.2d 834, 842 (D.C. Cir. 1985) (holding that “an injunction
      must be narrowly tailored to remedy the harm shown”)
     Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994)
     United States v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 320 (1936) (The President’s
      power in the field of international relations “does not require as a basis for its exercise an
      act of Congress.”)
CONSTITUTIONAL PROVISION
     Article II
STATUTES
     Foreign Assistance Act of 1961 (FAA) (allowing for the provision of assistance “on such
      terms and conditions as [the President] may determine,” including at:
          o 22 U.S.C. § 2151b(c)(1) (health assistance)
          o 22 U.S.C. § 2291(a)(4) (counternarcotics and anti-crime assistance)
          o 22 U.S.C. § 2346 (assistance to promote economic or political stability)
          o 22 U.S.C. § 2347 (International Military Education and Training assistance)
          o 22 U.S.C. § 2348 (Peacekeeping Operations)
          o 22 U.S.C. § 2349aa (anti-terrorism assistance)
     Foreign Assistance Act of 1961 (FAA), 22 U.S.C. § 2382(c) (providing that the Secretary
      of State, under the direction of the President, “shall be responsible for the continuous
      supervision and general direction of economic assistance, military assistance, and military
      education and training programs . . . to the end that such programs are effectively integrated
      both at home and abroad and the foreign policy of the United States is best served thereby.”)
     Migration and Refugee Assistance Act of 1962, (MRAA), Pub. L. No. 87-510, 76 Stat. 121
      (22 U.S.C. § 2601(c)(1))
     SEED Act of 1989, Pub. L. No. 101-179, 103 Stat. 1298 (amending the FAA by inserting,
      inter alia, § 498b(i))




                                                2
      Case 1:25-cv-00400-AHA   Document 15-2      Filed 02/12/25      Page 4 of 4




Dated: February 12, 2025                  Respectfully submitted,
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